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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,

Plaintiffs,
Vv.
ARNOLD SCHWARZENEGGER, et al.,
Defendants.

Case No. CIV $-90-0520 LKK JFM P

CARLOS PEREZ, et al.,
Plaintiffs,
.
JAMES TILTON, et al.,
Defendants.

Case No. C 05-05241 JSW

JOHN ARMSTRONG, et al.,

Plaintiffs,
v.

ARNOLD SCHWARZENEGGER, et al.,
Defendanis.

Case No, C 94-2307 CW

EXHIBITS TO THE RECEIVER’S
EIGHTH QUARTERLY REPORT

EXHIBITS TO THE RECEIVER’S EIGHTH QUARTERLY REPORT

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Case 2:90-cv-00520-KJM-SCR Document 2827 Filed 06/17/08 Page 2 of 2

APPENDIX OF EXHIBITS

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